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www, mehrangizkar.com

Mehrangiz Kar, a human rights lawyer from Iran, is an internationally recognized writer,
speaker and activist who advocates for the defense of women’s and humanrights in Iran and
throughout the Islamic world. A common theme in her work is the tension between the Iranian
law and core principles of human rights and human dignity. In 2000, Kar and sixteen other
Iranian journalists, activists and intellectuals attended a conference held at the Heinrich Boll
Institute in Berlin entitled “Iran after the Elections,” where Kar made remarks about the
urgent need for constitutional reform. Upon return to Iran, she was arrested and taken to Evin
Prison, and leveled with various charges, from “acting against national security” to “spreading
propaganda against the regime of the Islamic Republic.” Kar was to be additionally tried on
charges of “violating the Islamic dress code at the Berlin Conference,” “denying the
commands of the shari‘a” and abusing sacred principles, On 13 January 2001, she was
sentenced to four years imprisonment. Following two months spent in prison, Kar was
diagnosed with cancer. Under pressure from the European Union, she was rel eased
temporarily for treatment in the United States.

Kar was awarded a SRF fellowship to continue a visiting scholar position she had secured
through the Scholars at Risk program at Harvard University, where she lectured at the Carr
Center for Human Rights and Policy, and published numerous articles and essays. Her SRF
support was renewed for a second year, and in 2007, Kar published Crossing the Red Line:
The Struggle for Human Rights in Iran. She was able to stay at Harvard for a further two years
and then held visiting positions at various high-ranking universities internationally, including
the Brookings Institute and the University of Cape Town in South Africa.

Formerly a Visiting Professor at the Pembroke Center for Teaching and Research on Women
at Brown University, she has been quoted widely and her views have been broadcast across
mass media (print, radio, television, and Internet) in the U.S., Italy, and Germany. The themes
ofher writings and presentations to audiences in North America and Europe consistently
emphasize topics of women's and democratic legal rights in Iran. Kar has worked actively to
promote academic freedom and to defend the human rights of scholars worldwide.

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Having completed her studies in law at the University of Tehran in 1967, Kar was an active
public defender in Iran’s civil and criminal courts for many years and published regularly in
several influential and independent Iranian journals. She is the recipient of many international
awards, including the 2002 Ludovic Trarieux International Human Rights Prize, the 2000
PEN/NOVIB Award, the 2000 Donna Dell’ anno Award of the Conseil De Lavallee Consighio
Regionale Della Valle d’ Aosta in Italy, and, in 2004, she was honored by Human Rights First.
Kar has written a memoir, many articles (both Farsi and English) and at least fifteen books,
and established an organization to train and assist young Iranian human rights scholars and
activists.

For many years, Kar has maintained her own website, where she writes “about the country
that [I] was born and raised in,” because“ the government of Iran does not give [me] the nght
to publish [my ] views within the country [I] once called home.” Recently, she posted her
thoughts upon returning from a trip to Cairo: “I close my eyes and wish that my destination
could have been Iran, instead of my home in exile in the United States.”

EDUCATION

B.A. Law and Political Science, Tehran University, 1967

Legal degree and a member of the Iranian Bar Association, since 1978

POSITIONS HELD

Aug 2018-Jan 2019 Teaching Legal Obstacles of Democracy in Islamic Republic of Iran,
at, Middle Easter and South Asian Languages and Cultures, University of Virginia

July 2016-2018 Visiting scholar in CSUN’s Department of Gender and Women’s Studies

Mar 2015- June 2016 Rule of law Expert Consultant at Democracy Council

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June 2013-Mar 2015 Senior Technical Officer IIT at FHI360, LEGADA
Program, providing Islamic legal expertise, consultation and content

June 2011-May 2013 Visiting Professor at the Pembroke Center for Teaching and Research
on Women of Brown University

Sept. 2010-May 2011 Research Fellow at the Dubai Initiative at the Belfer Center for Science
and International Affairs of the Harvard John F. Kennedy School of Government.

Feb. 2010-June 2010 Eric Abraham Academic Visitor at Cape Town University’s
Department of Law in South Africa 2010. Research paper: A Comparative Study of Iran and
South Africa: Peaceful Movement and Transition from a Discriminatory Regime into a
Political System Based on Equality

July 2009-Jan, 2010 Visiting Fellow at the Saban Center for Middle East Policy at the

Brookings Institution. Author of Working Paper (No 4, Nov 2010): Reformist Islam Versus
Radical Islam in Iran

Sept. 2006-May 2009 Fellow at Harvard Law Schooi, Human Rights Program

Sept. 2007-May 2008 Visiting Scholar at the New House Humanities Center at
Wellesley College

January 2006 Teacher-in-residence at Oberlin College, Winter term, course titled “Challenges
of Women’s Lives after the Revolution”

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Sept. 2005-Jun. 2006 Fellow at Carr Center for Human Rights Policy, John F. Kennedy
School of Government, Harvard University

Sep 2004 — Sep 2005 Radcliffe Institute Fellow, Harvard University

Spring 2004 Visiting Professor, Department of Middle East and Asian Languages and
Culture, Columbia University, course titledOdstacles to Democracy in Iran

Jan 2003 — Present Visiting Scholar, Washington College of Law,

American University

Spring & Fall 2003 Visiting Professor, University of Virginia, course titled Democracy in
fran

and Spring 2004

Sep — Dec 2002 Scholar, Woodrow Wilson International Center for Scholars

Oct 2001- Aug 2002 Reagan-Fascell Democracy Fellow, National Endowment for
Democracy. Worked on a project entitled “The Juridical Foundations of the Crisis of
Democracy in Iran” that explores the theory and practice of law within the context of the
Islamic Republic of Iran to assess the probability of effecting changes from within the
government and establish a democratic political system.

2000 — 2001 Senior Fellowship, Toda Institute for Global Peace and Policy Research, Japan

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1979 — Present Attorney-at-law, Islamic Republic of Iran

1968 — Present Independent Journalist, Islamic Republic of Iran

1966 ~ 1975 Labor Law Specialist, The Ministry Of Labor And Soctal Security,

Tran

BOARD MEMBERSHIPS/ADVISORY POSITIONS

Member, Bar Association of Iran, 1978 -- Present,

In 2000, was nominated as a candidate to the Board of Directors of the Bar Association but
the intelligence services of the Islamic Republic interfered with and annulled the nomination
stating that the position exceeded my competence.

Honorary Member, Pen Club of the United States and Canada, 2000.

Nominated while in jail.

Board Director, Iranian Pen Club, 1999 -- 2000

Persevered in this position despite the targeting and murder of intellectuals and political
activists in 1999.

Board Member, the Advisory Committee of Human Rights Watch on the Middle East, 2010-
2011

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My attem pts to establish a women’s non-governmental organization were thwarted by the
intelligence services of the Islamic Republic.

AWARDS

2016 Phenomenal Women’s Award, California State University (CSUN)

2006 Genova: Una Donna Fuori Dal Coro (A Woman with a Different Voice) from
Associazione Genovese Terztario Donna Confcommercio Edizione 2006 of Genova Italy at
March 8° of 2006

2004 Recipientof the annual Human Rights First (formerly Lawyers Committee For Human
Rights) Human Rights Award

2002 Ludovic Trarieux International Human Rights Prize (France) for a lawyer working to
promote women’s human rights, awarded jointly by the Human Rights Institute of the Bar of
Bordeaux and the European Lawyers Union.

2002 Democracy Award of the National Endowment for Democracy (U.S.), for advancing
human rights and democracy.

2002 Hellman/Hammett Grant from Human Rights Watch (International) for a writer whois a
target of political persecution.

2001 Vasyl Stus Freedom-to-Write Award of PEN New England (Massachusetts, U.S.), for a
writer who has struggled in the face of oppression and brutality to make her voice heard.

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2000 PEN/NOVIB Award of the International PEN Club (Netherlands), for writers who have
lost their liberty for political and ideological reasons.

2000 Donna Dell’anno Award of the Conseil De Lavallee Consiglio Regionale Della Valle
D’aosta (Italy), for persevering in the fight for freedom and the defense of women’s rights.

2000 Latifeh Yarshater Award of the Society for Iranian Studies (U.S.), for the best book on
Iranian women.

1975 Forough Faroukhzad Award (Iran), for best article.

SELECT PUBLICATIONS

Select Books

Crossing the Red Line: The Struggle for Human Rights in Iran. California: Mazda Publishers,
2007.

Sharia and the Descularization Process The Reconstruction of Sharia in the Islamic Judiciary
of Tran, Los Angeles, California: Ketab Corp, 2006.

Legislature on Women’s Rights: Challenges and Crises, Stockholm, Sweden: Baran
Publishing Co. (Nashr-e- Baran), 2006.

Women’s Participation in Politics: Obstacles and Possibilities. Tehran: Roshangaran, 2001.

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The Burned Palms, Tehran: Roshangaran, 2001.

Legal Obstacles Against Political Development in Iran, Tehran: Qatreh, 2001.

Violence Against Women in Iran. Tehran: Roshangaran, 2000.

Legal Structure of the Family System in Iran. Tehran: Roshangaran, 1999.

Elimination of Gender Discrimination: A Comparison of the Convention On Elimination of
All Forms of Discrimination Against Women (CEDAW) and Iran’s Contemporary Laws,
Tehran: Qatreh, 1999.

Women’s Political Rights in Iran, Tehran: Roshangaran, 1997.

Children of Addiction, Tehran: Roshangaran, 1996. Second edition.

Women in the Labor Market of Iran, Tehran: Roshangaran, 1994.

The Quest for Identity: Iranian Women in History and Pre-History, Tehran: Roshangaran,
1992, Co-authored with Shahla Lahiii.

The Angel of Justice and Patches of Hell, Tehran: Roshangaran, 1991.

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Select Papers and Articles

“The Rule of Law and Conflict in the Reform Era”, Power and Change in Iran: Politics of
Contention and Conctliation, Ed. Brumberg, Daniel & Farhi, Farideh, Indiana University
Press, 2016

“What Rouhani Can and Must Do for Iran’s Women”, Saban Center for Middle East Policy at
the Brookings Institution. Article (October 2, 2013)

“Reformist Islam Versus Radical Islam in Iran”, Saban Center for Middle East Policy at the
Brookings Institution. Working Paper (No. 4, Nov 2010).

“Focusing on Women in the Internal Politics of Iran”, Brown Journal of World Affairs, Fall /
Winter 2008, Volume XV, Issue, 1.

“Tranian Law and Women’s Rights”, Muslim World Journal of Human Rights, Manuscript
1113, The Berkley Electronic Press, 2007.

“T Would Like to Die in My Country,” Interview with Boston Globe, Pages C6-C7, Published
on Tuesday, March 21" 2006.

Quoted in the Article “Bush Enters Tran ‘F reedom? Debate,” Financial Times, Friday March
31°, 2006.

“Shari’a Law in Iran” in Radical Islam's Rules: The Worldwide Spread of Extreme Shari'a
Law, edited by Paul Marshall, Freedom House’s Center for Religious Freedom, 2005.

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“Women and Civil Society in Iran” in On Shifting Ground: Muslim Women in the Global
Era, edited by Fereshteh Nouraie-Simone, New York: The Feminist Press at the City
University of New York, 2005.

“The Invasion of the Private Sphere in Iran” (English) in Jiternational Quarterly of the Social
Sciences, edited by Arien Mack, fall 2003.

“For Iranian Lawyer Here, Trials are Personal and Political,” interview with Washington Post,
Nora Boustany,February 15, 2002.

“Women’s Strategies in Iran from the 1979 Revolution to 1999” (English) in Globalization,
Gender and Religion: The Politics of Women’s Rights in Catholic and Muslim Contexts, Jane
Bayes and Nayereh Tohidi, eds., New York: St. Martin’s Press, 2001.

“The Women of fran Look to the Future” in Mehregan, Volume 8 (4), Winter 2000.

“Protecting the Lives of Women: Is There A Need For Creating Safe Houses?” Zanan 19,
November 1999,

“The Treatment of Accused Prisoners: Law and Implementation,” Asre Azadegan Daily 85,
November 1999.

“TheLawyers Association and its Difficulties,” Asre Azadegan Daily 73, November 1999,

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“Women Against Women,” Adineh 127, June 1999.

“Women’s Rights In Iran Are Not In Agreement With Human Rights,” Jameeh Salem 38,
April 1999,

“Let Us Make Up With Common Law,” Jameeh Salem 37, March 1999.
“Legal Safeguards for Iranian Women” in /ran Nameh, Volume 15 (3), Summer 1997.

“Personal Status Law as Defined by the Islamic Republic of fran: An Appraisal,”
(English) Women Living Under Muslim Laws Special Dossier, 1996, Co-authored with Homa
Hoodfar,

“Women’s Political Rights in Iran Since the Revolution” (English) The Iranian Journal of
International Affairs 7 (3), 1996,

“Women and Personal Status Law in Iran,” (English) Middle Kast Report, 1996: January ~
March.

Ihave written countless articles prior to and after the Islamic Revolution in Iran. They appear
in several prominent journals and newspapers including among others Adineh, Asre Azadegan,
Donyaye Sokhan, Ferdowsi, fran Nameh, Jame-e-Neshat, Jame-e-Salem, Keyhan, Mardom,
Rastakhiz, Safar, Toos, and Zanan.

lalso havea personal Weblog in both English and Persian:

www _inehransizkar.com

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SELECT PAST CONFERENCES AND SEMINARS: 1998
— Present

Brookings Institution, US-Islamic World Forum, Doha, Qatar, June 9-11, 2013. Workshop
panelist

The Atlantic Council, A Free, Fair, and Competitive Election in Iran, Seminar, Washington
DC, April 19, 2013. Closed door seminar guest and participant

Internati onal Campaign for human rights in Iran, Sketches of Iran, UC Berkeley, California,
April 6, 2013. Book reading

Brown University, Department of Literary Arts, The current situation in the MENA region
from the perspective of leading writers and poets, Providence, RI, March 12, 2013. Reading
excerpts from novel based in the Islamic Revolution in Iran

Association of Professors and Scholars of Iranian Heritage(APSIH ), Conference on the
Challenges of the Iranian Society, UCLA, California, February 23, 2013. Lecture on Islamic
legal provisions for democratic governance in Iran

Yalda Network: Mothers and Others for Iran, Inaugural Meeting, Washington DC, February
13-14, 2013. Lecture on engaging in democracy

Iranian Women’s Club, Annual Conference, Florida, Orlando, December 9, 2012. Lecture on
employment status of Iranian women

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Solidarity Committee to protect the Iranian people's will (SCPIPW), LGBTQ rights in Islamic
Law, Dusseldorf, Germany, November 3, 2012. Lecture on the LGBTQ rights in the Iranian
Islamic law

Afghan Institute of Learning (AIL) and Women’s Learning Partnership for Rights,
Development, and Peace (WLP), Kabul, Afghanistan, April 9-13, 2004. Facilitator at the
WLP-AIL Roaming Institute for Women’s Leadership, a forum for development of
participatory facilitation skills, effective communication and media techniques, and
cooperative advocacy campaign strategies,

Yale Law School, Connecticut, November 29, 2001. Lecture on the crisis of democracy in
contemporary Iran.

Columbia College Chicago, Hlinois, November 16, 2001, “Iranian Women: The Legal
Structure of the Family and the Quest for Identity.” Lecture on the legal rights of Iranian
women within the Islamic framework of Iranian law.

Purdue University, Indiana, November 12, 2001, “U.S.-Iran Relations: At the Dawn of a New
Century.” Lecture on the reform movement and women’s political participation in Iran.

Heinrich Bali Institute, Berlin, Germany, April 17, 2000, “Tran After the Elections.”

Following her participation in this conference, I was arrested and imprisoned on charges of
disparaging religion and endangering the national security of the Islamic Republic of

Tran. 1 was placed in solitary confinement and denied access to medical aid. Freed on bail of
US $60,000, three of the five charges against me are still pending, for which I may be
atrested if 1 return.

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Center for World Dialogue, Cyprus, November 16, 1999, “Dialogue and Action between the
People of Iran and America.” Lecture on the legal status of Iranian women.

Middle East Institute, Washington DC, October 1-2, 1999, “Leadership for a New
Century.” Lecture on legal obstacles to the advancement of women’s rights in Iran.

School of Advanced International Studies, Johns Hopkins University, Washington DC,
February 3, 1999, “Divorce Iranian Style.” Presentation on women’s rights in marriage
within the Islamic family laws of Iran.

Harvard University, Massachusetts, 1998, “Women’s Rights in Islamic Family Law.”

Society for Iranian Studies, Maryland, May 1998, “SIS Second Biennial

Conference.” Presentation on the intellectual discourse in Iran concerning political and legal
reform.

SELECT PAST MEDIA APPEARANCES

Banned from appearing on radio or television within the Islamic Republic of Iran, I

have gained international exposure through appearing on numerous prominent radio

and television shows. have appeared on, among others, CNN, BBC Persian, Netherlands TV ,
Finland TV, Radio Free Europe/Radio Liberty, Italian TV, and BBC World TV.1 have also
been interviewed for several documentary films, including among others /ranian

Journey, directed by Maysoon Pachachi.

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